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UNITED STATES BISTRICT COURT i ey sf
NORTHERN DISTRICT OF LLLINOIS Hea lg bars a
EASTERN DIVISION
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STEVE LISCANO, )
Defendant,
) No. 09 CV 1347
Vs ) Chief Judge James F. Holderman
UNITED STATES OF AMERICA,
Respondent. )
)

 

DEFENDANT. STEVE LISCANO'S REPLY TO THE GOVERNMENT'S RESPONSE
TO DEFENDANT'S SECTION 2255 MOTION:

Comes now, the Defendant Steve Liscano, by ‘way of pro se, reply
as follows to the Government's response to Defendant's Motion

under 28 U.S.C. § 2255.

1. The § 2255 Motion in this matter seeked to set aside
Defendant Liscano's conviction and Life sentence for a narcotics
conspiracy in case 02 CR 719. Defendant therefore argues that
the attorney who represented him at trial and sentencing (Robert

A. Loeb) was ineffective.

2- In Strickland v. Washington, 466 U.S. 668, 80 L. Ed. 2d
674, 104 S. Ct. 2052 (1984). The Supreme Court established a
two prong test to govern ineffective assistance of counsel claims.

To obtain reversal of a conviction or to vacate a sentence based
 

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on ineffective assistance of counsel the defendant must show:
(1) that counsel's performance fell below an objective standard

of reasonableness; and (2) that there is a reasonable probabili-

ty that, but for counsel's objectively unreasonable performance,

the result of the proceedings would have been different. Id. 466
U.S. at 688-689; Williams v. Taylor, 120 S. Ct. 1495, 1512-16;

2000 U.S. LEXIS 2837, **53-64; 146 L. Ed. 2d 389 (2000).

3. The Court stated that, "judicial scrutiny of counsel's
performance must be highly deferential" and added that "a court
must indulge a strong presumption that counsel's conduct falls
within the wide range of reasonable professional assistance."
Id.

The Court clarified that this reference to “highly deferen-
tial scrutiny referred only to the first performance prong of

the test and meant that,

"... the defendant must overcome the presumption that,

under the circumstances, the challenged action ‘might

be considered sound trial strategy,"

Strickland v- Washington, 466 U.S. at 669-691.

The Court added that,

. Strategic choices made after through investi-
gation of law and facts relevant to plausible opt-
tons are virtually unchallengeable; and strategic
choices made after less than complete investigation
are reasonable precisely to the extent that reason-
able professional judgments support the limitations
on investigations. In other words, counsel has a
duty to make a reasonable decision that makes par-
ticular investigations un-necessary." Id.
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4. Two years after its Strickland decision, the Court reaff-
irmed that this portion of the decision set forth what test that
can be made in evaluating whether the performance of counsel was
within the range of “reasonable professional assistance." or fell
below an objective standard of reasonableness. Kimmelman v.
Morrison, 477 U.S. 365, 385-387, 91 L. Ed. 2d 305, 106 S. Ct.
2574 (1986).

The Supreme Court therefore noted that,

"... a single, serious error may support a claim of

ineffective assistance of counsel.

Kimmelman v. Morrison, 477 U.S. at 384,

The Court then added that this "single serious error" could
cause counsel's performance to fall below the level of reasonable

‘even where, "counsel's performance at

professional assistance,’
trial [was] generally creditable enough," and even where counsel
had made "vigorous cross-examination, attempts to discredit witn-

esses, and [an] effort to establish a different version of the

facts.'' Id. 477 U.S. at 386.

4. In short, no deference is due to counsel's actions, and
the performance of counsel falls below the Strickland objective
standard or reasonableness if counsel's specific acts or omissi-
ons are not demonstrably the result of actual strategic choices
made between or among all plausible options after through inves-
tigation of law and facts relevant to [t]he options. Strickland,

466 U.S. at 691; Kimmelman v. Morrison, 477 U.S. at 385-387;
 

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Williams v. Taylor, 120 $. Ct. 1495, 1512-16; 2000 U.S. LEXIS
2837, **53-54; 146 L. Ed. 2d 389 (2000).

6. Where a convicted defendant like Liscano is making a
claim of ineffective assistance of counsel, the defendant,
" .. must identify the acts or omissions of

counsel that are alleged not to have been the

result of reasonable professional judgment."

Strickland v. Washington, 466 U.S. at 690.

If the record does not "conclusively" demonstrate “strategic
reasons" for counsel's failures, the district court entertaining
a motion under 28 USC § 2255 must hold an evidentiary hearing.

A subsequent affidavit from counsel will not suffice to estab-
lish a trial strategy, nor absolve the district court from the

requirement of holding an evidentiary hearing -

7. In the instant case, Mr. Liscano has made specific, sworn,
factual allegations which this court should accept as true for the
purpose of considering whether to hold an evidentiary hearing,
because they are not conclusively disproved by the files and reco-

rds of this case.

Assuming for the purposes of this portion of the Strickland
analysis that the forgoing failures were potentially prejudicial

to Mr. Liseane it cannot be said from the present record that

counsel's “performance"™ did not fall below the objective standard
of Strickland. This is because Mr. Liscano has pleaded that coun-

sel’s failures in defending Mr. Liscano were based on counsel's
 

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failures to question the Government's witness on facts material to
him in the pretrial, trial, and direct appeal process. This was not
an “innocent inadvertence" by counsel because Mr. Liscano specifi-

cally requested that counsel ask these questions.

8. ARGUEMENT

In writing for the majority in Strickland v. Washington, 466
U.S. 668, 80 L. Ed. 2d 674, 104 S. Ct. 2052 (1984), Justice 0'

Connor stated the general rule that,

", actual ineffective claims alleging a defici-

ency in attorney performance are subject to a
general requirement that the defendant affirmati-

vely prove prejudice."

Id. 466 U.S. at 693, 80 L.Ed.2d at 697.

More specifically, justice O'Connor set forth the now known
statement of the test for “prejudice” in claims of actual ineffe-

ctiveness of counsél as:

“The defendant must show that there is a reasonable
probability that, but for coumsel's unprofessional

errors, the result of the proceeding would have been
different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome."
Id. 466 U.S. at 695, 80 L. Ed. 2d at 698.

While the Court noted the Government's, perhaps natural, incl-
ination to argue that attorney error is harmless unless the defe-

ndant can show that "counsel's deficient conduct more likely than

not altered the outcome of the case'"- the Court specifically and
 

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explicitly rejected this argument by the Government.’

In rejecting any outcome determinative test such as that empl-

oyed in Federal Rule of Criminal Procedure 33 analysis, the Court

stated:

The result of a proceeding can be rendered unreliable,
and hence the proceeding itself unfair, even if the
errors of counsel cannot be shown by a preponderance
of the evidence to have determined the outcome.

Strickland v. Washington, 466 U.S. at 694, 80 L. Ed. 2d at

Williams v. Taylor, 120 S. Ct. 1495, 1519; 2000 U.S. LEXIS
*476; 146 L.Ed. 2d 389 (2000).

The Court further specifically rejected the application

the "actual prejudice" standard of United States v. Frady,

697;
2837,

of
456

U.S. 152, 71 L. Ed. 2d 816, 102 S. Ct. 1584 (1982), to claims of

ineffective assistance of counsel, with the following admonish-

ment:

"The principles governing ineffectiveness claims should apply
in federal collateral proceedings as they do on direct appeal
or in motions for new trial. As indicated by the ‘cause and
prejudice’ test for overcoming procedural waivers of claims
error, the presumption that a criminal judgment is final is
at its strongest in collateral attacks on that judgement. See
United States v. Frady, 456 U.S. 152, 162-169, 71 L. Ed. 2d

816, 102 S. Ct. 1558 (1982). An ineffectiveness claim, however,

as our articlation of the standards that govern decision of

auch claims makes clear, is an attack on the fundamental fair-

ness of the proceedings whose result is challenged. Since
fundamental fairness is the central concern of the writ of
habeas corpus, see id. at 126, no special standards ought to

apply to ineffectiveness claims made in habeas proceedings."
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Strickland, 466 U.S. at 697-98, 80 L. Ed. 2d at 700.

The Court hearing an ineffectiveness claim should consider
the totality of the factors which guided the decisionmaker in

the challenged proceeding, then try to determine which factors

were or were not "effected" by counsel's errors.

“Taking the unaffected [factors] as a given, and taking

due account of the effect of the errors on the remain-
ing [factors], a court making the prejudice inquiry
must ask if the defendant has met the burden of showing
that the decision reached would reasonably likely have

been different absent the errors."

Strickland v. Washington, 466 U.S. at 696, 80 L. Ed. 2d at 699.

Where through "hindsight" the Court can determine that, but
for the errors of counsel, there is a “reasonable probability"
of a different outcome, a probability sufficient to “undermine
confidence" in the challenged proceedings, the defendant has
affirmatively proven prejudice. Strickland, 466 U.S. at 694-95;
United States v. Glover, 531 U.S. 198; 121 S. Ct. 696; 148 L.
Ed. 2d 604; 2001 U.S. LEXIS 639 (2001); Williams v. Taylor,

120 S. Ct. 1495, 1512-16; 2000 U.S. LEXIS 2837, **53-64; 146 L.
Ed. 2d 389 (2000).

This rule is applicable to find "prejudice" where hindsight

 

1 Id. 466 U.S. at 694, 80 L. Ed. 2d at 697.

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Id. This, of course, means that the "plain error" standard also does not

apply to ineffective assistance of counsel claims. Id. See United States v.
Olano, 507 U.S. 725, 735 (1993) (plain error “must be real and such that it
probably influenced the verdict....'").
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demonstrates that counsel's constitutionally deficient performance
deprived a federal criminal defendant like Liscano of considerat-
ion.

In the instant case, Mr. Liscano has made specific, sworn,
factual allegations, in his § 2255 motion, that counsel failed to
ask pertinent questions that was requested by Liscano in order to
bring forth facts that would have "sharply underciut" the Govern-
ment's theory of Liscano's involvement in the Government's key
witness, Juan Gorral's drug conspiracy. And that he was prejudiced
by counsel's objectively unreasonable performance in the trial and
appeal process, when counsel failed to ask the requested questions
at trial or on appeal.

The duty of counsel therefore is not merely to do ‘something’
rather than nothing on behalf of one's client, but to act as the
client's effective advocate during each critical stage of the
defense. Fisher v. Gibson, 282 F.3d 1283, 1307 (10th 2002}. When
a matter is central to the theories of both prosecution and
defense, counsel's obligation to meet the prosecution's evidence
is heightened. Rompilla v. Beard, 162 L. Ed. 2d 360, 125 S. Ct.
2456, 2462 (2005).

Throughout the Government's case-in-chief Liscana was being
portrayed by the Government as Juan Corral's own little security

man. See T. Tr. at 1231-32.

20 How about Steve Liscano? What's
his role in this
21 illegal business? Part protector, part

public relations man,
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22 Security.

The Government closed its case-in-chief by summing up what
the Government's evidence proved at trial and the role's each

of the defendants played in the conspiracy.

As noted above, the Government's theory when it came to
Liscano, was that Liscane worked for the Government's witness
"Juan Corral" as part protector, part public relations man,

security. T. Tr. at 1231-32.

The Sixth Amendment provides in relevant part that "[i]n all
criminal prosections, the accused shall enjoy the right... to
have the assistance of counsel for his defense." U.S. CONST.
amend. VI. An attorney must not only be present with a criminal
defendant at his trial, but must also assist the defendant in a
way that ensures the trial is fair. Strickland v. Washington,

466 U.S. 668, 685, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984).

Mr. Liscano therefore pointed to specific acts or omissions
by his counsel that constitute ineffective assistance, and that
this court must decide whether these acts or omissions were made
outside the wide rang of professionally competent assistance.

Berkey v. United States, 318 F.3d 768, 772 (7th Gir-2003).

As noted, the Government's theory at trial that linked Mr.
Liscano to “Corral's" conspiracy was that Lisecano worked for
"Corral" as part prtector, part public relations man, security.

T. Tr- at 1231-32.

With a few questions, Liscano argues that defense counsel
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could have "sharply undercut" the Government's theory that he
worked for "Corral" and doing so, ensured that the defenses
theory that Liscano and Corral had nothing more than a buyer-

seller relationship.

The record likewise support Liscano's contention that had
counsel ask these few questions that "there was a reasonable
probability that, but for counsel's unprofessional errors, the

result of the preceeding would have been different, ‘meaning’

a probability sufficient to undermine confidence in the outcome."’

Eckstein v. Kingston, 460 F.3d 844, 849 (7th Cir.2006) (quoting

Strickland v. Washington, 466 U.S. at 694).

Mr. Liscano argues that his counsel's performance fell “below
an objective standard of reasonableness” when viewed from the
record offered by the Government's own witness at sentencing when
asked by counsel, whether Liscano ever worked for him as part
protector, part public relations man, security as claimed by the

Government. Sent. Tr. at 29.

Q. Steve Liscano didn't ever work for you as like a

security man, did he.

A. No, he did not.

The Government's own witness "Corral" also gave testimony at
sentencing that Liscano was not involved in his conspiracy, had
counsel ask these questions at trial as Liscano requested, the
jury would have heard "Corral's" testimony of Liscano's nonin-

volvement in a conspiracy with the Government's witness. The jury
 

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would have also heard that when Liscano called "Corral" the very
day that cops was on "Corral's" block, he was not in the act of
assisting "Corral" in any way, as the Government claimed through-

out this case. Sent. Tr. at 30.

The Government's theory that Liscano was working for "Corral"
as his security man is once again outlined in the Government's

closing. T. Tr. at 1255.

7 How about Estremera? what are the calls on

B Estremera's tapes? Well, from the very beginning, he's had
9 the benefit of his security officer. Security officer calls
10 Corral on May 17th and says, "Cops are out there all over at

11 Luigi's," right? Big red flag. ‘What are we gonna do?"

1? What does Corral do? who does he call? Remenber he

13. says, "Call your neighbor’? He calls Estremera, and Estremera
14 is at the movies theaters. And he gets out of the movie

15. theater and he wants to know whether he should come over.

16 Remeber that? That;s because Corral says, "I did a

17 perimeter."

As noted throughout the Government's case-in-chief Liscano was
Juan Corral's security man and that this is one of the phone calls
that proved it. This call along with the others that the Govern-
ment is alleging Liscano was Corrai's security man was refuted by
the Government's own witness. In other words, Liscano has presen-
ted evidence that, under the circumstances, the conduct of counsel
could not reasonably be considered “sound trial strategy." See.

United States v. Traeger, 289 F.3d 461, 472 (7th Gir.2002) (citing
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Strickland, 466 U.S. at 689-90).

The specific questions in this case, then, are whether Mr.
Liscano's counsel's failure to challenge a matter at trial centr-
al to the theories of both the prosecution, that "Liscano was
apart of the conspiracy because he worked for Corral, as part
protector, part public relations man, security"’ and the defenses
theory that "Liscano had nothing more than a buyer-seller relatio-
nshipe with Corral, and was therefore not part of some elaborate
drug conspiracy as claimed by the Government” "fell below an
objective standard of reasonableness," and, if it did, whether
there is a reasonable probability that, had counsel ask these
questions at trial and not sentencing, it would have changed the

result of the sentence.

The testimony by Juan Corral at sentencing also show that Mr.
Liscano didn't know where Corral kept his cocaine, but the Govern-

ment claim that Liscano was the security man for the conspirators.

Sent. Tr. at 31.

Q. To your knowledge, Steve Liscano didn't know where you

kept your cocaine, right?

A. That's correct.

The other phone call offered by the Government to prove Liscano
was apart of, or agreed to participate in Corral's single, larger
conspiracy alleged in the indictment, was also refuted by Corral

at Setencing. Sent. Tr. at 30.
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BY MR. LOEB:

QO. You recall that there was a time that Steve Liscano gave
you a phone call and said there are some cops on your block?

A. Yes.

Oo. Okay. When he made that call, he wasn't in the act of
assisting you on any drug deals, was he?

A. No, he wasn't.

Oo. To your knowledge, he didn't know whether or not you
had -- you possessed any cocaine at your home?

A. No, he did not.

At the time Liscano made the call to Corral telling him that

he had seen law enforcement officers near his residence, Liscano
was not attempting to conceal Corral's drug conspiracy, as was

acknowledged by Corral in his testimony at Liscano's sentencing.

Although counsel for Liscano was equipped with Corral's sen-
tencing testimony that clearly refute the Government's theory of
the two phone calls made by Liseano, counsel still allowed the
Seventh Circuit Court of Appeals to be duped into believing that
the calls made by Liscano was made to conceal Corral's larger

conspiracy.

Liscano therefore argues that had counsel's performance during

trial and appeal had not been deficient, the Seventh Circuit

Court of Appeals would not have found that there was no variance
with respect to the proof offered against Liscano ("two phone

calls") had counsel pointed out the testimony offered by Corral
 

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at Liscano's sentencing hearing.

9. The Seventh Circuit Court of Appeals denied Liscano's variance

arguement based on the two phone calls made by Liscano. United

States v. Bustamante, 493 F. 3d 879, 885 (7th Cir.2007) where

the Court addressed the “hub and spoke” or "wheel" conspiracy,

in this case, which is "an arrangement in which a core conspirator
moves from spoke to spoke, directing the functions of the con-

spiracy." (quoting United States v. Chandler, 388 F.3d 796, 807

(11th Gir.2004)). As noted by the court "for a hub and spoke con-

spiracy to function as a single unit, a rim must connect the spo-

kes together, for otherwise the conspiracy is not one but many."

Bustamante, 493 F.3d at 885.

The connective tissue used to link Liscano to Corral's larger

conspiracy was the phone calls as stated above. Therefore, had

counsel ask Liscano’s requested questions at trial and not sent-
encing, counsel would have met the prosecution's evidence with
evidence that “sharply undercut" the Government's theory, and had
counsel presented the testimony during the appeal stage the
Seventh Circuit Court of appeals would have had a better under-
standing of the evidence to determine whether there was a true
variance with respect to the proof offered against Liscano, the
two phone calls, which was refuted by the Government's own witness

at the defendants sentencing hearing.

There was therefore "a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding
 

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would have been different, ‘meaning’ a probability sufficient to
undermine confidence in the outcome."'’ Eckstein v. Kingston, 460
F.3d 844, 849 (7th Cir.2006) (quoting Strickland v. Washington,
466 U.S. at 694).

10. The defendant Liscano respectfully abandon the following
claimes presented in his 28 U.S.C. § 2255 Motion: Issues, One,
Two, Three, Four, Six, Seven, Eight, Nine and Ten... Without any

further argument on the matter.

11. For some reason the Government has chosen to argue that some-
how Corral's sentencing testimony refutes Liscano's contentions
that his sentencing testimony conflict with the Government's
proof that Liscano was not Corral's personal little security man,
among other things. For example, at Page 3 of the Government's
response, the Government contend that Corral's testimony that
Liscano did not "work for" Corral (id. at 29), that Liscano was
not assisting Corral on a drug deal when Liscano called to warn
Corral about police in the area (id. at 30), that Corral had no
agreement with Liscano for Liscano to help Corral sell drugs to
other customers (id. at 34), that Corral did not tell Liscano
about Corral's other customers (id. at 34), and that Corral's
drugdealing operation could have continued without Liscano (id.
at 50). But none of Gorral's testimony as claimed by the Govern-
ment was inconsistent with the Government's proof. Liscano, res-
pectfully disagree with this assessment of Corral's sentencing
testimony by the Government. For example, the Government argued

and this court along with the Seventh Circuit Court of Appeals
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agreed that the connective tissue was infact the two phone calls

made by Liscano to Corral.

As noted by the Seventh Circuit Court of Appeals, it was these
very calls noted "for the hub and spoke conspiracy to function as

a single unit, for otherwise the conspiracy is not one but many."

Bustamante, 493 F.3d at 885.

The Government therefore cannot argue from a different stand
point other than that argued at trial and on appeal, which was,
Liscano was working for Juan Corral as his own little security
man and that this was his role in the conspiracy, to protect
those in it. Nor can the Government excape the fact that Liscano's
appeal was affirmed on appeal based on this very same argument
offered by the Government, that when Liscano made those phone
calls to Corral, he was acting as the protector of Corral's drug
conspiracy. Thereby, attempting to conceal the conspirators from

being detected by police authority. See T. Tr. at 1255.

Thus, contrary to the Government's characterization, that
Corral's sentencing testimony somehow refutes Liscano's conten-
tions, "that Corral's testimony at sentencing, conflict with the
Government's proof" is not supported by the record and therefore

must fail.

12. Despite the Government's creative and colorful effort/argu-
ment to camouflage Corral's sentencing testimony with the Govern-
ment's proof as one in the same, is telling, for the record tells
a different story. For example, the Government claimed that

Liscano agreed with Corral to sell drugs, but Corral's sentencing
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testimony tells a different story(id. at 34).

13. In United States v. Shi, 317 F.3d 715, 717 (7th Cir.2003), this
court held that standing alone, a simple buyer-seller relationship
does not establish a conspiratoral agreement because each party
acts "at arms-lenth, each trying to get the better deal, rather

than cooperatively."

CONCLUSION

WHEREFORE, had counsel ask the requested questions there was

a reasonable probability that, that proceeding would have been

different, ‘meaning’ a probability sufficient to undermine con-

fidence in the outcome."' Eckstein v. Kington, 460 F.3d 844, 849

(7th Cir.2006) (quoting Strickland v. Washington, 466 U.S. at 694).

Liscano therefore, respectfully request that this Court grant

his petition in this matter for all of the reasons stated above.

Respectfullly submitted,
/s/

Steve Liscano
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USP Terre Haute

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I, Steve Liscano, do hereby certify that a true an correct copy
of the foregoing reply to the Government's response to defendant
Liscano's 28 U.S.C. § 2255 Motion was sent to the following AUSA
Barry Rand Elden, at 219 South Dearborn Street, 5th Floor, Chicago,

Illinois 60604. On this 5 aay of February ,2010, via First -Class

Respectfubly submitted,
/s/

Steve aL

Reg. No. /999G-7RY

Mail.

USP Terre Haute
Post Office Box 33

Terre Haute, Indiana 47808
